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                                       Exhibit A

                                    Final Fee Order




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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

CHRISTMAS TREE SHOPS, LLC., et al.,                        Case No. 23-10576 (TMH)

                                   Debtors.1               (Jointly Administered)

                                                           Re: Docket Nos. 639, 640, 641, 642, 643, 644,
                                                           654, and 646


                  OMNIBUS ORDER AWARDING FINAL ALLOWANCE OF
                  COMPENSATION FOR SERVICES RENDERED AND FOR
              REIMBURSEMENT OF EXPENSES OF VARIOUS PROFESSIONALS

         Upon consideration of the final applications of estate professionals (the “Professionals”)

retained by the above-captioned chapter 11 debtors and debtors in possession (the “Debtors”)

and the Official Committee of Unsecured Creditors, as identified on the attached Exhibit A, for

allowance of final compensation and reimbursement of expenses for the periods set forth on

Exhibit A (collectively, the “Final Fee Applications”); and it appearing to the Court that all of

the requirements of sections 327, 328, 330, 331 and 503(b) of title 11 of the United States Code,

as well as Rule 2016 of the Federal Rules of Bankruptcy Procedure and Rule 2016-2 of the Local

Rules of Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the

District of Delaware, have been satisfied; and it further appearing that the expenses incurred

were reasonable and necessary; and that notices of the Final Fee Applications were appropriate;

and after due deliberation and sufficient good cause appearing therefore; it is hereby:




1
    The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
    as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
    Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).



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         ORDERED, that the Final Fee Applications are hereby APPROVED on a final basis as

set forth herein; and it is further

         ORDERED, that each Professional is granted, on a final basis, allowance of

compensation and reimbursement of expenses in the amount set forth in the column entitled

“Total Allowed Fees and Expenses” on Exhibit A attached hereto with respect to such

Professional; and it is further

         ORDERED, that each professional shall provide wire instructions to counsel for the

Chapter 7 trustee; and it is further

         ORDERED, that the Chapter 7 Trustee shall wire each Professional the amount set forth

in column entitled “Payment From Carve Out” on Exhibit A attached hereto from the

Professional Fee Reserve (as defined in the Final DIP Oder) with respect to such Professional;

and it is further

         ORDERED, that each Professional is granted an allowed administrative expense claim in

the chapter 11 cases in the amount set forth in the column entitled “Allowed Chapter 11

Administrative Expense Claim” on Exhibit A attached hereto with respect to such Professional;

and it is further

         ORDERED, that this Order shall be deemed a separate order for each of the

Professionals, and the appeal of any order with respect to any of the Professionals shall have no

effect on the authorized fees and expenses of any of the other Professionals; and it is further

         ORDERED, that the Court shall retain jurisdiction with respect to all matters arising from

or related to the implementation of this Order.




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                                                                        EXHIBIT A

                                                                                         TOTAL         FEES AND  PAYMENT    ALLOWED
                                               PERIOD    FEES    EXPENSES               ALLOWED        EXPENSES    FROM    CHAPTER 11
PROFESSIONAL                ROLE         D.I.
                                              COVERED REQUESTED REQUESTED               FEES AND      PREVIOUSLY  CARVE  ADMINISTRATIVE
                                                                                        EXPENSES         PAID       OUT  EXPENSE CLAIM
Murphy & King,
                       Debtors’                5/5/23-
Professional                             639              $665,268.50     $16,644.80    $681,913.30     $0.00       $548,354.50   $133,464.06
                       counsel                 8/16/23
Corporation
Troutman Pepper        Debtors’
                                               5/5/23-
Hamilton Sanders       Delaware          640              $596,603.00      $6,710.44    $603,313.44     $0.00       $512,684.11    $90,629.33
                                               8/16/23
LLP                    counsel
Porzio, Bromberg       Counsel to              5/22/23-
                                         641              $497,271.75      $8,561.45    $505,833.20   $295.426.75   $100,069.25    $83,864.00
& Newman, P.C.         Committee               8/16/23
                       Administrative
Kurtzman Carson                                5/5/23-
                       Advisor to     642                  $29,544.24           $0.00    $29,544.24     $0.00       $25,169.24      $4,375.00
Consultants, LLC                               8/16/23
                       Debtors
                       Financial
FAAN Advisors                                  5/5/23-
                       Advisor to        643              $239,507.70           $0.00   $239,507.70     $0.00       $204,043.66    $35,464.04
Group, Inc.                                    8/16/23
                       Debtors
Womble Bond            Delaware
                                               5/22/23-
Dickinson (US)         Counsel to        644              $309,918.50      $6,515.90    $299,767.00 $179,522.67     $67,766.31     $52,448.00
                                               8/16/23
LLP                    Committee
                       Financial
Rock Creek                                     5/23/23-
                       Advisors to       645              $233,748.00           $0.00   $233,748.00     $0.00       $182,703.00    $38,720.00
Advisors, LLC                                  8/16/23
                       Committee
                       Investment
SSG Advisors,                                  5/31/23-
                       Banker to         646              $275,000.00           $0.00   $275,000.00 $100,000.00     $134,281.28    $40,718.72
LLC                                            8/16/12
                       Debtors




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